        Case 1-18-43991-jmm           Doc 36       Filed 10/11/18     Entered 10/11/18 09:49:18




UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re

TONI G. SIMONS,                                                     Case No. 18-43991 (CGM)

                                   Debtor.                          Chapter 13

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                                     DECLARATION OF SERVICE

         I, Norma Ortiz, being duly sworn state as follows:

         1. I am over 18 years of age and not a party to this case.

       2. On October 5, 2018, I served a copy of the following document(s) to the individuals
and entities listed on the annexed service list in the manner indicated:

        NOTICE OF HEARING ON DEBTOR’S MOTION FOR AN ORDER
      PURSUANT TO 11 U.S.C. § 506(a)(1) AND FED. R. BANKR. PROC. 3012
       FIXING THE VALUE OF REAL PROPERTY AND RECLASSIFYING
  CLAIM NO. 2 OF REAL TIME RESOLUTIONS, INC., AS AGENT FOR DEUTSCHE
   BANK NATIONAL TRUST CO. AS TRUSTEE FOR INDYMAC HOME EQUITY
           MORTGAGE LOAN ASSET BACK TRUST SERIES 2006-H3
    FROM A SECURED CLAIM TO AN UNSECURED NON-PRIORITY CLAIM

       I hereby certify that the foregoing statements made by me are true to the best of my
knowledge and belief. I am fully aware that if any of the foregoing statements are willfully false,
I am subject to punishment.


Dated: Astoria, New York
       October 5, 2018
                                                                       /s/ Norma Ortiz
                                                                     Norma Ortiz
     Case 1-18-43991-jmm        Doc 36     Filed 10/11/18    Entered 10/11/18 09:49:18




                                Toni G. Simons, Chapter 13
                                        Service List

                                     METHOD                                     METHOD
             NAME                    OF                        NAME             OF
                                     SERVICE                                    SERVICE
Real Time Resolutions, Inc           First Class   Michael J. Macco, Trustee    First Class
c/o Rose Velasquez, Senior Analyst   Mail          2950 Express Drive South     Mail
1349 Empire Central Dr., Suite 150                 Suite 109
Dallas, TX 75247                                   Islandia, NY 11749


Bonial & Associates, P.C.            First Class   Citi Bank, N.A.              First Class
c/o Mary D. Vitartas                 Mail          Clarissa Weyant              Mail
P.O. Box 9013                                      701 E. 60th Street North
Addison, TX 75001                                  Sioux Falls, SD 57117


Weinstein & Riley, P.S.              First Class
Jordyn Robertson                     Mail
2001 Western Ave., Ste: 400
Seattle, WA 98121
